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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
 vs.                                      )    NO. 2:09-CR-35
                                          )
 RONALD ZITT,                             )
                                          )
 Defendant.                               )

                           OPINION AND ORDER

       This matter is before the Court on the “Motion to Move

 Defendant to a Federal Facility,” filed by Defendant Ronald Zitt on

 September 2, 2011 (DE #492).      For the reasons set forth below, the

 motion is DENIED.

       Defendant Zitt asks the Court to transfer him to “MCC Chicago,

 IL for use of a Law library to represent himself Pro se.”                  (DE

 #492.)   In the memorandum in support of his motion, Defendant Zitt

 references “BOUNDS” (the Court assumes this to be Bounds v. Smith,

 430 U.S. 817 (1977)) and states that law libraries are required to

 have books containing relevant state and federal statutes, law

 reporters, Shepard’s Citations, basic treatises, etc. (DE #493, p.

 1.)    Defendant Zitt provides specific citations to four cases,

 including Corgain v. Miller, 708 F.2d 1241 (7th Cir. 1983), and he

 argues that “[t]his system makes research very hard and time

 consuming, and some courts have held that, without additional
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 measures such systems violate a prisoners right to access the

 courts.”    (Id. at 1-2.)

       What Defendant Zitt does not cite is U.S. v. Sykes, 614 F.3d

 303, 311 (7th Cir. 2010), wherein the Seventh Circuit held:

              We have long interpreted Bounds to give the
              government the choice to provide either access
              to a law library or access to counsel or other
              appropriate legal assistance. We have further
              held that a defendant who declines appointed
              counsel and instead invokes his constitutional
              right to self-representation . . . does not
              have a right to access to a law library. The
              rule is that [the defendant] has the right to
              legal help through appointed counsel, and when
              he declines that help, other alternative
              rights, like access to a law library, do not
              spring up.    Insofar as Sykes contends that
              access to a law library is mandated under
              Bounds, our caselaw squarely forecloses his
              claim.

 Id.   at   311   (internal   citations      and    quotation   marks       omitted)

 (emphasis added).

       In this case, Defendant Zitt has had more than ample access to

 counsel.    Since the inception of this case, Defendant Zitt has had

 four different attorneys; one attorney was retained by Defendant

 Zitt and three attorneys were appointed by this Court. For various

 reasons, Defendant Zitt opted to fire all of his Court appointed

 attorneys.       Throughout the case, the Court has held numerous

 hearings and issued numerous orders regarding Defendant Zitt’s

 alleged difficulties with counsel.                Finally, on July 5, 2011,

 Defendant Zitt filed a formal motion to proceed pro se.               (DE #468.)



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 On July 14, 2011, the Court held a hearing on Defendant Zitt’s

 motion, thoroughly questioned Defendant Zitt regarding his reasons

 for wishing to proceed pro se, and advised him of the risks

 associated with doing so.          (DE #470.)             After this exchange,

 Defendant Zitt unequivocally stated that he wished to fire his

 attorney in order to proceed pro se.           (Id.)      The Court granted his

 request, and, as a precaution, ordered that Attorney Adam Tavitas

 remain in the case as stand-by counsel to assist Defendant Zitt

 with any electronic filing.       (Id.)        However, the Court cautioned

 Defendant Zitt that the purpose of allowing stand-by counsel was

 not to do Defendant Zitt’s legal research or to prepare any motions

 for him; Defendant Zitt did not waiver in his position that he

 wished to proceed pro se.      (Id.)       Towards the end of the hearing,

 Defendant Zitt requested a continuance of the previously scheduled

 Sentencing Hearing so that he could prepare his additional motions

 pro se, and the Court granted the continuance.                (Id.)

       Based on the foregoing events and after consideration of the

 applicable Seventh Circuit case law, the Court, DENIES Defendant

 Zitt’s “Motion to Move Defendant to a Federal Facility” (DE #492).


 DATED: September 15, 2011                     /s/ RUDY LOZANO, Judge
                                              United States District Court




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